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                    UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION


BP ENERGY COMPANY,
      Plaintiff,
v.                                                  Case No. 4:19-cv-03243

GREG LINDBERG; GLOBAL HEALTH
TECHNOLOGY GROUP, LLC,
      Defendants.

        PLAINTIFF’S CERTIFICATE OF INTERESTED PARTIES
      Plaintiff BP Energy Company (“Plaintiff” or “BP”) hereby furnishes the

following statements pursuant to Fed. R. Civ. P. 7.1.

      BP was incorporated in Delaware. Its principal office is located at 501

Westlake Park Boulevard, Houston, Texas 77079. It is wholly owned by BP

Company North America Inc. BP Company North America Inc. is wholly owned

by BP Corporation North America Inc. BP Corporation North America Inc. is

wholly owned by BP America Inc. BP America Inc. is wholly owned by BP

America Limited. BP America Limited is wholly owned by BP Holdings North

America Limited. BP Holdings North America Limited is wholly owned by BP

P.L.C., an entity publicly traded on the New York Stock Exchange.
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                                   Respectfully submitted,


                                   By: /s/ Kenneth E. Broughton
                                     Kenneth E. Broughton
                                     State Bar No. 03087250
                                     Federal ID No. 13428
                                     REED SMITH LLP
                                     811 Main Street, Suite 1700
                                     Houston, Texas 77002-6110
                                     Telephone: 713.469.3819
                                     Telecopier: 713.469.3899
                                     kbroughton@reedsmith.com

                                   ATTORNEY-IN-CHARGE
                                   FOR PLAINTIFF
                                   BP ENERGY COMPANY


OF COUNSEL:

REED SMITH LLP
Michael H. Bernick
State Bar No. 24078227
Federal ID No. 1439062
811 Main Street, Suite 1700
Houston, Texas 77002-6110
Telephone: 713.469.3819
Telecopier: 713.469.3899
mbernick@reedsmith.com

ATTORNEYS FOR PLAINTIFF
BP ENERGY COMPANY




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                        CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing document was served on
all counsel of record via the Court’s ECF system on this the 8TH day of November,
2019.


                                            /s/ Kenneth E. Broughton
                                            Kenneth E. Broughton




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